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                                 No. 23-12958


             IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
                  ________________________________

                             The State of Georgia,
                              Plaintiff-Appellee,

                                       v.

                            Mark Randall Meadows,
                             Defendant-Appellant.

                    ________________________________

Appeal From the United States District Court for the Northern District of Georgia
                  The Honorable Steve C. Jones, Presiding
                     D.C. Docket No. 1:23-cv-3621-SCJ
                  ________________________________

        State of Georgia’s Responsive Brief Pursuant to this Court’s
                       Order of September 12, 2023

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                                INTRODUCTION

      On September 12, 2023, the Court directed the parties to file responsive briefs

answering the following question:

      In certain circumstances, 28 U.S.C. § 1442(a)(1) permits “any officer
      (or any person acting under that officer) of the United States or of any
      agency thereof, in an official or individual capacity,” to remove a civil
      action or criminal prosecution from state court to federal court. Does
      that statute permit former federal officers to remove state actions to
      federal court or does it permit only current federal officers to remove?
      Compare 28 U.S.C. § 1442(a)(1) with 28 U.S.C. § 1442(b) (permitting
      removal of “[a] personal action commenced in any State court by an
      alien against any citizen of a State who is, or at the time the alleged
      action accrued was, a civil officer of the United States and is a
      nonresident of such State …”).

Doc. [7] at 1. While it appears that no court has ever squarely addressed this

jurisdictional question, well-established principles of statutory construction and the

federal interests served by 28 U.S.C. § 1442(a)(1) answer it: Only current federal

officers may remove state actions to federal court under the authority granted by

Section 1442(a)(1).


       THE STATUTORY SCHEME AND PROCEDURAL HISTORY

      Section 1442(a)(1), the federal statute under which Appellant sought to

remove his criminal prosecution from the Superior Court of Fulton County to the

Northern District of Georgia, states:

      (a) A civil action or criminal prosecution that is commenced in a State
      court and that is against or directed to any of the following may be


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      removed by them to the district court of the United States for the district
      and division embracing the place wherein it is pending:

      (1) The United States or any agency thereof or any officer (or any
      person acting under that officer) of the United States or of any agency
      thereof, in an official or individual capacity, for or relating to any act
      under color of such office or on account of any right, title or authority
      claimed under any Act of Congress for the apprehension or punishment
      of criminals or the collection of the revenue.

Significantly, Section 1442(a)(1) is silent on the removal of a civil action or a

criminal prosecution commenced against or directed to a former officer of the United

States. Compare 28 U.S.C. § 1442(b) (authorizing removal to federal court of a

“personal action commenced in any State court by an alien against any citizen of a

State who is, or at the time the alleged action accrued was, a civil officer of the

United States and is a nonresident of such State …”) (emphasis added).

      Appellant filed his notice of removal on August 15, 2023, and an evidentiary

hearing was held on August 28, 2023. On September 8, 2023, the district court

entered an order declining to find subject matter jurisdiction and remanding the

matter to the Fulton County Superior Court. The district court concluded that

Appellant’s “alleged association with post-election activities was not related to his

role as White House Chief of Staff or his executive branch authority” and that if it

were to assume jurisdiction over the matter, “the Court would have to turn a blind

eye to express constitutional powers granted to the States to determine their election

procedures, as well as federal statutory and regulatory limitations on political



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activities of executive branch officials.” Doc. [4] Ex. 1 at 47. On the same day, based

on the district court’s order remanding the matter, Appellant filed a notice of appeal

and emergency motion to stay now pending before this Court.

                                   ARGUMENT

I.    Based on well-established canons of construction, Section 1442(a)(1)
      cannot be interpreted to authorize removal of a criminal prosecution
      commenced in a state court against a former federal officer.

      While Section 1442(a)(1) authorizes federal officers to have state

prosecutions against them removed to federal court under certain circumstances, it

is entirely silent on the removal of a state criminal prosecution commenced against

a former officer of the United States. Conversely, Section 1442(b) explicitly provides

for the removal of certain actions against any citizen “who is, or at the time the

alleged action accrued was, a civil officer of the United States and is a nonresident

of such State … .” This Court should recognize that the discrepancy in the language

used by Congress in drafting and enacting these two subsections of the same statute

was intentional, and Section 1442(a)(1), properly interpreted, cannot authorize

removal of a state criminal prosecution against a former federal officer.

      The Supreme Court has “explained many times over many years that, when

the meaning of [a] statute’s terms is plain, our job is at an end.” Bostock v. Clayton

Cty., 140 S. Ct. 1731, 1749 (2020). “If the statutory language is unambiguous, in the

absence of ‘a clearly expressed legislative intent to the contrary, that language must



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ordinarily be regarded as conclusive.’” United States v. Turkette, 452 U.S. 576, 580

(1981) (quoting Consumer Product Safety Comm'n v. GTE Sylvania, Inc., 447 U.S.

102, 108 (1980)). Where “Congress includes particular language in one section of a

statute but omits it in another section of the same Act, it is generally presumed that

Congress acts intentionally and purposely in the disparate inclusion or exclusion.”

Russello v. United States, 464 U.S. 16, 23 (1983). And “[t]he interpretive canon that

Congress acts intentionally when it omits language included elsewhere applies with

particular force” when the disparate statutory provisions are “in close proximity” to

one another. Dep't of Homeland Sec. v. MacLean, 574 U.S. 383, 392 (2015)

(emphasis added).

      This Court applies this principle with regularity: “[W]here Congress knows

how to say something but chooses not to, its silence is controlling.” Sabal Trail

Transmission, LLC v. 18.27 Acres of Land in Levy Cnty., 59 F.4th 1158, 1163 (11th

Cir. 2023); Animal Legal Def. Fund v. United States Dep't of Agric., 789 F.3d 1206,

1217 (11th Cir. 2015); In re Haas, 48 F.3d 1153, 1156 (11th Cir. 1995), abrogated

on other grounds by In re Griffith, 206 F.3d 1389 (11th Cir. 2000). As discussed

infra, these “canons of construction hold true” when two sections of a statute clearly

apply to two different situations that have different consequences and concern

entirely different federal interests. See United States v. Fernandez, Nos. 19-15044;

19-15165, 2022 U.S. App. LEXIS 23350, *9 (11th Cir. Aug. 22, 2022).



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      Applying these canons, the disparate language found in Section 1442(a)(1)

and Section 1442(b) clearly demonstrates that Congress did not intend for removal

to federal court of state criminal prosecutions to be available to former federal

officials. The Court must presume that Congress acted intentionally and purposely

by including the language “is, or at the time the alleged action accrued was” an

officer of the United States in Section 1442(b) while simultaneously excluding it

from Section 1442(a)(1), and the Court must “refrain from concluding here that the

differing language in the two subsections has the same meaning in each.” Russello,

464 U.S. at 23. And these canons apply “with particular force” because the two

subsections are in such close proximity to one another. See Dep't of Homeland Sec.,

574 U.S. at 392. Had Congress intended to allow former federal officers to remove

state actions pursuant to Section 1442(a)(1), “it presumably would have done so

expressly as it did in the immediately following subsection” 1442(b). See Id.

      For these reasons, the Court cannot assume jurisdiction over this matter.


II.   The federal interests served by Section 1442(a)(1) differ dramatically
      from those served by Section 1442(b), further demonstrating that
      Congress did not intend for Section 1442(a)(1) to authorize removal of a
      criminal prosecution commenced in a state court against a former
      federal officer.

      Congress’s intent to treat two subsections of the same statute differently by

using different language in each is reinforced when the two subsections each serve

a distinct, independent purpose. As this Court recently analyzed in a similar

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situation, the canons of construction discussed supra “hold true” and demonstrate

that Congress acted “intentionally and purposely in the disparate inclusion or

exclusion.” United States v. Fernandez, Nos. 19-15044; 19-15165, 2022 U.S. App.

LEXIS 23350, *9 (11th Cir. Aug. 22, 2022) (quoting Russello, 464 U.S. at 23).

      In Fernandez, the defendant was convicted by a jury of multiple crimes,

including bribery in violation of 18 U.S.C. § 201(b)(2)(C). Id at *1. That statute

prohibits a public official from receiving anything of value in return for being

induced to do or omit to do any act in violation of his or her “official duty,” but the

statute does not define “official duty.” Id at *7. By contrast, 18 U.S.C. §

201(b)(2)(A), which provides another way of violating of the same bribery statute,

prohibits a public official from receiving anything of value in return for being

influenced in the performance of any “official act,” and the statute does define

“official act.” Id. At trial, Fernandez submitted a proposed jury instruction that

would have used the pattern jury instruction definition of “official act” as the

definition of “official duty.” The district court rejected his proposed instruction. Id.

      On appeal, this Court affirmed the district court, applying the canons of

construction discussed supra, because Section 201(b)(2)(A) and Section

201(b)(2)(C) each serve a different purpose: they apply to different types of bribery

and prohibit different conduct. Id at *9. Although the two provisions “undoubtedly

overlap in some considerable measure,” they cover different types of cases. Id at *10



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(quoting United States v. Alfisi, 308 F.3d 144, 151 n.3 (2d Cir. 2002)). One covers

bribes regarding decisions involving the exercise of judgment or discretion, and the

other applies to bribes that induce actions that directly violate a specific duty. Id.

Accordingly, this Court rejected Fernandez’s proposed application of the statutory

definition of “official act” to the undefined “official duty” because “[w]here

Congress includes particular language in one section of a statute but omits it in

another section of the same Act, it is generally presumed that Congress acts

intentionally and purposely in the disparate inclusion or exclusion.” Id at *9 (quoting

Russello, 464 U.S. at 23).

      The same rationale applies here. As the district court correctly pointed out in

its remand order, the courts have long held that the basic purpose of federal officer

removal under Section 1442(a)(1) is “to protect the Federal Government from the

interference with its ‘operations’ that would ensue were a State able, for example, to

‘arres[t]’ and bring ‘to trial in a State cour[t] for an alleged offense against the law

of the State,’ ‘officers and agents’ of the Federal Government ‘acting … within the

scope of their authority.’” Watson v. Philip Morris Cos., 551 U.S. 142, 150 (2007)

(quoting Willingham v. Morgan, 395 U.S. 402, 406 (1969)); See Doc. [4] Ex. 1 at

45. The district court also reasoned that “[a]ssuming jurisdiction over this criminal

prosecution would frustrate the purpose of federal officer removal when the state

charges allege—not state interference with constitutionally protected federal



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activities, but—federal interference with constitutionally protected state actions.”

Doc. [4] Ex. 1 at 46 (emphasis in original).

      By stark contrast, Section 1442(b) authorizes removal of certain actions

commenced in state courts “by an alien against any citizen of a State who is, or at

the time the alleged action accrued was, a civil officer of the United States and is a

nonresident of such State … .” The purpose of that subsection, concerning private

actions against certain federal officers, has nothing to do with preventing a state from

interfering with the operations of the federal government. While removal under

Section 1442(b) is rarely sought and there is scant law applying it, its primary

purpose seems to align with the federal government’s interest in preventing state

courts from adjudicating actions that may implicate “the international law of foreign

relations.” See 3C Am. Jur. 2d Aliens and Citizens § 2120 (2023). Indeed,

“relationships with other members of the international community must be treated

exclusively as an aspect of federal law.” Banco Nacional De Cuba v. Sabbatino, 376

U.S. 398, 425 (1964).

      Here, Congress’s decision to include former federal officers within the scope

of Section 1442(b) but to deliberately omit former federal officers from that of

Section 1442(a)(1) is entirely consistent with the distinct federal interests served by

each subsection. Where the purpose of Section 1442(a)(1) is to prevent state

interference with the operations of the federal government, a state prosecution of a



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former federal officer can hardly interfere with such operations when that former

federal officer no longer has any role in the operations of the federal government.

Indeed, the State of Georgia’s prosecution of Appellant has no impact on the current

operations of the federal government because Appellant no longer occupies a federal

office and therefore plays no role whatsoever in any of the ongoing operations of the

federal government. There is no longer a federal interest to protect, and this Court

must presume that Congress recognized that fact and thus enacted Section

1442(a)(1)—without contemplating removal by former federal officers—

intentionally and purposely. See Russello, 464 U.S. at 23.

      Conversely, the purpose of Section 1442(b) is to prevent state courts from

adjudicating private actions brought by foreign nationals against current and former

federal officers, both of which could substantially affect “relationships with other

members of the international community [and] must be treated exclusively as an

aspect of federal law.” Banco Nacional De Cuba, 376 U.S. at 425. In this

circumstance, whether the subject of such a private action is a current federal officer

or a former federal officer, the federal interest remains intact. It is that ongoing

federal interest that Congress sought to protect by authorizing removal so broadly

under Section 1442(b) while simultaneously omitting such broad language from

Section 1442(a)(1).




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      The different federal interests served by Section 1442(a)(1) and Section

1442(b) support the conclusion that Congress acted intentionally and purposely by

precluding removal of a criminal prosecution commenced in a state court against a

former federal officer.


                                 CONCLUSION

      Based on well-established canons of statutory construction and the federal

interests Section 1442(a)(1) was intended to protect, former federal officers are not

authorized to remove state actions to federal court, and the district court’s remand

should be affirmed.

      Respectfully submitted this 13th day of September 2023,

                                       FANI T. WILLIS
                                       DISTRICT ATTORNEY
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                                       By:

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                        CERTIFICATE OF COMPLIANCE

1.      This responsive brief complies with the type-volume limit of the Federal

        Rules of Appellate Procedure and the instruction of the Court that this

        responsive brief “should be no more than ten pages.” Excluding the parts of

        the document excluded by Federal Rule of Appellate Procedure 32(f) and

        Eleventh Circuit Ruile 26.1-3(c), this document contains 2,325 words.

     2. This responsive brief complies with the typeface requirements of Federal

        Rule of Appellate Procedure 32(a)(5) and the type-style requirements of

        Federal Rule of Appellate Procedure 32(a)(6) because this responsive brief

        has been prepared in a proportionally spaced typeface using Microsoft Word

        in 14-point Times New Roman.

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                CERTIFICATE OF INTERESTED PERSONS

      As authorized by the Eleventh Circuit Rules, I hereby certify that the

Certificate of Interested Persons contained in Appellant’s Motion appears complete.

      This 13th day of September 2023,

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                           CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was served upon the following by electronic

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